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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  PADUCAH DIVISION

 AVIENT CORPORATION,

                              Plaintiff,              Case No. 5:22-cv-51-TBR
 v.
                                                      Electronically Filed
 WESTLAKE VINYLS, INC.,

                              Defendant.


                        [PROPOSED] AGREED SCHEDULING ORDER

         This matter comes before the Court on the Joint Motion for Entry of Agreed Scheduling

Order. Having fully reviewed the Parties’ submission, the Court GRANTS the Parties’ motion

and orders as follows:

      1. The parties shall file their opening briefs in support of summary judgment, each to be

         limited to 30 pages, by October 7, 2022;

      2. The parties will file their briefs in opposition to the other party’s motion for summary

         judgment, each to be limited to 30 pages, by November 10, 2022; and

      3. The parties will file their reply briefs, each to be limited to 20 pages, by December 8,

         2022.

      IT IS SO ORDERED.




                                                                September 9, 2022
